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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

League of Women Voters of Ohio, et al.,

                   Plaintiffs,                       Case No. 2:20–cv–3843
                                                     Judge Michael H. Watson
      v.                                             Magistrate Judge Jolson

Frank LaRose,

                   Defendant.

                                      ORDER

      Plaintiffs have filed an unopposed motion for leave to exceed the Court’s

page limitation for a motion for a preliminary injunction they intend to file. ECF

No. 14. For good cause shown, the Court GRANTS Plaintiffs’ motion. Plaintiffs’

motion may be up to 40 pages in length. Defendant is granted the same

increased page limit for any response he may file.

      IT IS SO ORDERED.
                                       /s/Michael H. Watson____________
                                       MICHAEL H. WATSON, JUDGE
                                       UNITED STATES DISTRICT COURT
